                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE


   HOLSTON UNITED METHODIST HOME
   FOR CHILDREN,
                              Plaintiff,
                                                               No. 2:21-CV-00185-TAV-CRW
           v.

   XAVIER BECERRA, et al.,

                                              Defendants.


                JOINT DISCOVERY PLAN REPORT UNDER FED. R. CIV. P. 26(F)

          Consistent with the Court’s April 25, 2022 scheduling order and Fed. R. Civ. P. 26(f), the

  parties jointly file this discovery plan report.

  I. DISCOVERY PLANNING MEETING

          The parties held a telephonic discovery planning meeting on Tuesday, May 10, 2022.

  Counsel considered the issues set forth in Rule 26(f).

  II. DISCOVERY PLAN

      A. Initial Disclosures

          The parties agree this case is exempt from initial disclosures under Rule 26(a)(1)(B)(i).

      B. Subjects, Timing, and Phases of Discovery

          1. Subjects

          The parties agree that there is no need for discovery in this case, which they anticipate

  will decided on the basis of the administrative record produced by Defendants.

          2. Timing

          Plaintiff’s position. Plaintiff asks that the Court set a 30-day deadline for Defendants to

  produce the administrative record, and that this timeline should begin to run when the Court

  approves this discovery plan.




                                     1
Case 2:21-cv-00185-TAV-CRW Document 26 Filed 05/20/22 Page 1 of 3 PageID #: 152
         Defendants’ position. Defendants propose that they should produce the administrative

  record 30 days after the Court rules on Defendants’ motion to dismiss, ECF No. 20, which

  presents threshold jurisdictional arguments. Pursuant to that motion, the Court may rule that it

  lacks subject-matter jurisdiction over the case such that there is no need to produce an

  administrative record. The Court therefore should not order Defendants to produce the

  administrative record before the Court rules on Defendants’ motion to dismiss. See In re United

  States, 138 S. Ct. 443, 445 (2017) (per curiam) (noting that “the District Court should have . . .

  stay[ed] implementation” of order for government to produce complete administrative record and

  “first resolved the Government’s threshold arguments” concerning subject-matter jurisdiction

  because “those arguments, if accepted, likely would eliminate the need for the District Court to

  examine a complete administrative record”).

         3. Phases

         The parties agree there is no need to conduct discovery in phases.

     C. E-discovery

         The parties agree that Defendants may serve the administrative record by email or

  electronic file as a substitute for service by mail or hand delivery, and in such event, the date of

  service by email shall be the equivalent of serving by hand delivery. The parties will agree on

  any electronic method of service that is used to ensure that Counsel for Plaintiff is able to receive
  the administrative record by that method based on its size and format.

         The parties do not believe that additional orders or conditions need to be set forth

  concerning e-discovery. Production of the administrative record is subject to regular electronic

  record-keeping by the government.

     D. Expert Testimony

         The parties agree that expert testimony will not be needed in this case.

     E. Privilege or Protection

         The parties agree that provisions for protecting privilege are not needed.




                                     2
Case 2:21-cv-00185-TAV-CRW Document 26 Filed 05/20/22 Page 2 of 3 PageID #: 153
    F. Limitations or Changes

        The parties agree that no other limitations or changes to the scheduling order are needed.

    G. Other Issues

        The parties are not aware of other issues that the Court needs to resolve at this time.




       Respectfully submitted, this 20th day of May, 2022.


  BRIAN M. BOYNTON                                  s/ Matthew S. Bowman
  Principal Deputy Assistant Attorney General      MATTHEW S. BOWMAN
                                                   DC Bar No. 993261
  MICHELLE R. BENNETT                              ALLIANCE DEFENDING FREEDOM
  Assistant Branch Director                        440 First Street NW, Suite 600
                                                   Washington, DC 20001
                                                   Telephone: (202) 393-8690
  /s/ Cassandra M. Snyder                          Facsimile: (202) 347-3622
  Cassandra M. Snyder                              mbowman@ADFlegal.org
  Trial Attorney
  United States Department of Justice              JONATHAN A. SCRUGGS
  Civil Division, Federal Programs Branch          TN Bar No. 25679
  1100 L Street, NW                                ALLIANCE DEFENDING FREEDOM
  Washington, DC 20005                             15100 N 90th Street
                                                   Scottsdale, AZ 85260
  Tel: (202) 451-7729                              Telephone: (480) 444-0020
  Email: cassandra.m.snyder@usdoj.gov              Facsimile: (480) 444-0028
                                                   rbangert@ADFlegal.org
  Counsel for Defendants                           jscruggs@ADFlegal.org

                                                   Counsel for Plaintiff




                                     3
Case 2:21-cv-00185-TAV-CRW Document 26 Filed 05/20/22 Page 3 of 3 PageID #: 154
